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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

UNITED STATES OF AMERICA                       )
                                               )       No. 14 CR 546
      v.                                       )
                                               )       Judge Charles P. Kocoras
                                               )
NIKESH A. PATEL                                )


                   GOVERNMENT’S UNOPPOSED MOTION
                 TO SUPPLEMENT THE RECORD ON APPEAL

      The United States of America, by JOHN R. LAUSCH, JR., United States

Attorney for the Northern District of Illinois, hereby moves to supplement the record

on appeal, and states as follows:

      1.     Defendant Nikesh A. Patel has appealed the final judgment entered by

this Court following his conviction and sentencing.

      2.     Under Rule 10(a) of the Federal Rules of Appellate Procedure, “[t]he

original papers and exhibits filed in the district court; . . . the transcript of

proceedings, if any; and . . . a certified copy of the docket entries prepared by the

district clerk” constitute the record on appeal.

      3.     One of the exhibits submitted to the court at sentencing was not filed

with the district court clerk.

      4.     In responding to the defendants’ appeal, the government will refer to the

following government exhibit or portions thereof: Letter from Dr. Dinwiddie

regarding Nikesh A. Patel, dated March 2, 2018.       A copy of which is attached.
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      5.     Since the above referenced exhibit is not currently in the record on

appeal, the United States wishes to supplement the record so that the exhibit, or the

relevant portions thereof, are available for review by the Court of Appeals.

      6.     The government contacted Patel’s appellate counsel, Beau Brindley,

and he has no objection to supplementing the record with this document.

      WHEREFORE, the United States respectfully requests that the court issue an

order directing the clerk to supplement the record on appeal with the above

referenced exhibit, a copy of which are attached to this motion.


                                              Respectfully submitted,

                                              JOHN R. LAUSCH, JR.
                                              United States Attorney

                                       By:    /s/ Patrick J. King, Jr.
                                              PATRICK J. KING, JR.
                                              Assistant United States Attorney
                                              219 South Dearborn Street, 5th Floor
                                              Chicago, Illinois 60604
                                              (312) 353-5341




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